                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                 Judge Robert E. Blackburn

Criminal Case No. 13-cr-00354-REB

UNITED STATES OF AMERICA,

        Plaintiff,

v.

1. JOEL E. MILLER,
      a/k/a Joel Edward Miller,

        Defendant.


                                          MINUTE ORDER1


      The matter is before the court on defendant’s Motion For Reconsideration of
Court Order Denying Motion To Dismiss (Doc. 152) [#155]2 filed October 29, 2014.
The motion is STRICKEN as duplicitive of defendant’s previous motion, [#154].

        Dated: October 29, 2014




        1
         This minute order is issued pursuant to the express authority of the Honorable Robert E.
Blackburn, United States District Judge for the District of Colorado.

        2
          “[#155]” is an example of the convention I use to identify the docket number assigned to a
specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
convention throughout this order.
